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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

IN RE:                                      )      CHAPTER 7
                                            )
CAPITAL CITY PUBLIC                         )      Case No.: 21-10163-BAH
CHARTER SCHOOL,                             )
                                            )      TO BE HEARD WITH TRUSTEE’S
         Debtor                             )      FINAL ACCOUNT
                                            )



           FINAL APPLICATION FOR THE ALLOWANCE OF FEES
     AND REIMBURSEMENT OF EXPENSES OF DANIEL C. PROCTOR, ESQ.
            (TO BE HEARD WITH TRUSTEE’S FINAL ACCOUNT)

         NOW COMES Daniel C. Proctor, Esq., Attorney-at-Law (hereafter the

“Applicant”), as counsel for Michael S. Askenaizer, Chapter 7 Trustee (hereafter the

“Trustee”) in the above-captioned matter, and makes his Final Application for the

Allowance of Fees and Reimbursement of Expenses and in support thereof, states as

follows:

         1. That the Applicant was employed by the Trustee pursuant to this Honorable

Courts Order dated April 9, 2021. See Document 18.

         2. That the Applicant was employed to assist the Trustee in administering

property of the Estate. In particular, pursuing the claims of preferential transfers,

fraudulent transfers, fraud generally and/or misappropriation of assets under New

Hampshire law, of monies which were assets of Debtor’s Estate.

         3. That specifically, the Trustee alleged that Incorporators, Directors, Officers

and/or an employee of the Debtor inappropriately used monies which belonged to the

Debtor, in contravention of both the Bankruptcy Code and New Hampshire law.
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       4. Services provided by the Applicant included filing an Adversary Proceeding

against the Incorporators, Directors, Officers and employee, seeking the repayment of

funds take from the Debtor’s Estate. Extensive preparation of the Complaint was

necessitated by the confluence of various laws involving Federal grants administered by

both the State of New Hampshire and Federal Departments of Education, Federal

Income tax law as incorporated by New Hampshire law involving officers of non-profit

corporations, and a complex audit, performed prior to the filing of Debtor’s Petition for

Relief with this Honorable Court.

       5. Services also provided by the Applicant included the negotiation and

settlement of the preferential and fraudulent transfer claims, with Court approval of the

settlement. Reaching settlement included a multi-day judicial mediation, extensive

negotiation and discussion over the language of the Settlement Agreement and

extensive negotiation and discussion of the language of the Motion for Approval of

Settlement. Settlement negotiations lasted for a period of four (4) months.

       6. In addition, your Applicant prepared and filed pleadings for the employment

of other professionals to assist the Trustee with dealing with unfiled tax returns and to

deal with getting the IRS to amend its Proof of Claim. IRS discussions also involved

your Applicant who communicated with counsel to some of the former Directors and

Officers of the Debtor and IRS officials.

       7. That the Applicant believes that his work on this matter is substantially

complete.

       8. That the Application encompasses the period beginning April 7, 2021 through
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September 26, 2023.

      9. Application performed 117.675 billable hours, as follows:

      Timekeeper                  Hours         Effective Rate       Amount

      Daniel C. Proctor, Esq.     117.675       $300.00              $35,302.50

      10. That by this Application, the Applicant seeks fees in the amount of

$35,302.50, said amount representing 100% of the fees incurred to date. See also

breakdown in the Bill affixed hereto as Exhibit 1.

      11. That by this Application, the Applicant seeks award of all its expenses

incurred during the Application period, totaling $68.84. Those expenses incurred are

detailed on the Form Annex-1 filed herewith. See also breakdown on Exhibit 1.

      12. That the Trustee has $78,779.64 remaining in his possession as of the date of

this pleading. The Trustee’s commission totals $7,250.00. Thus, after deducting the fees

sought by your Applicant and the fees paid to the Trustee, a balance of $33,570.85 will

be available for distribution. This money will all be paid to the Internal Revenue

Service, as the priority unsecured creditor with a Proof of Claim filed in the amount of

$31,103.43. There will be a partial distribution to general unsecured creditors,

representing less than one percent of general unsecured claims.

      13. That the Applicant has been employed in this matter for approximately

eighteen (18) months and believes his work assisting the Trustee is substantially

complete.

      14. That there have been no previous Orders on compensation and

reimbursement of expenses during the administration of this Estate.
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          15. That a detailed time listing of the accrued time and associated legal work

performed by the Applicant is also submitted herewith. See attached Exhibit 1.

          16. That the rate of compensation is similar to and customary with the hourly

rate charge by comparably skilled practitioners in cases other than cases under Title 11.

          17. That there have been no agreements made by and between Daniel C. Proctor,

Attorney-at-Law and any other entity regarding the sharing of compensation received

or, to be received, in this case.

          18. That the Trustee has reviewed the Final Fee Application and approves the

amounts set forth herein.

          WHEREFORE the Applicant respectfully requests this Honorable Court Order

and Decree as follows:

          A. That the Applicant be awarded final fees of $35,302.50 for his efforts in this

matter;

          B. That the Applicant be allowed reimbursement of expenses in the amount of

$68.84;

          C. That the Trustee be authorized to pay such amounts forthwith; and

          D. Grant Applicant such other and further relief as is just and equitable.

                                             Respectfully Submitted
                                             DANIEL C. PROCTOR, ESQ. AS ATTORNEY
                                             FOR MICHAEL S. ASKENAIZER, TRUSTEE

Dated: September 26, 2023                    /s/ Daniel C. Proctor, Esq.
                                             Daniel C. Proctor, Esq. #02124
                                             P.O. Box 3544
                                             Concord, NH 03302-3544
                                             603-228-8226
